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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                      )
                                                )
               Plaintiff,                       )
                                                )
        vs.                                     )    CRIMINAL NO. 15-cr-3762-JCH
                                                )
  NAEL ALI,                                     )
                                                )
               Defendant.                       )

                                MOTION TO CONTINUE
                               SENTENCING OF NAEL ALI

       The United States respectfully requests that the Court continue the sentencing hearing for

Defendant Nael Ali for the following reasons. Defendant Ali does not oppose this motion.

       1. The sentencing hearing in this matter is currently set to be heard by the Court on

          March 27, 2018, at 9:00 a.m. On March 5, 2018, Mr. Ali filed objections to the

          presentence report. The presentence writer responded on March 12, 2018, the same

          day undersigned counsel returned to the U.S. Attorney’s Office from two weeks of

          military duty. Given the factual disputes that have recently surfaced, the United States

          now intends to present agent testimony so the Court can make accurate factual

          findings important to the guidelines calculation. Unfortunately, the agent the United

          States needs to call is out of town on annual leave, and will be unavailable until after

          March 30, 2018.

       2. Additionally, today the United States was made aware that Defendant Ali may have

          used mass marketing to market the fraudulent sale of his jewelry, which would likely

          impact his guideline range. The United States needs a short amount of time to
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           investigate that information, and provide it to the presentence writer for

           consideration.

       3. Moreover, the United States has requested in a previous motion that the sentencing

           hearing of Defendant Ali’s co-defendant, Mohammad Manasra, be set on the same

           day as Defendant Ali’s sentencing hearing. This request was made to accommodate

           victims and Native American artisans that plan to attend and provide testimony to the

           Court. The Court vacated Defendant Manasra’s prior setting, but has yet to reschedule

           his sentencing hearing.

       For all of the reasons above, the United States respectfully requests that this Court reset

Defendant Ali’s sentencing hearing to a time between April 11 and 18, 2018, a time during

which the United States, its witnesses, and Defendant Ali are all available. Additionally, the

United States requests that Defendant Manasra’s sentencing hearing be set for the same day to

enable Native American artisans and victims to make statements to the Court during both cases.

                                                     Respectfully submitted,

                                                     JOHN C. ANDERSON
                                                     United States Attorney

                                                     /s/
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I HEREBY CERTIFY that I filed the
foregoing through the CM/ECF system,
which provided notice and a copy to
opposing counsel of record.
/s/
KRISTOPHER N. HOUGHTON
Assistant United States Attorney
